




Dismissed and Memorandum Opinion filed January 18, 2007








Dismissed
and Memorandum Opinion filed January 18, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00263-CV

____________

&nbsp;

BILLY B. ROSS, II, Appellant

&nbsp;

V.

&nbsp;

GREAT NORTHERN AIRCRAFT SALES, INC., Appellee

&nbsp;



&nbsp;

On Appeal from the 281st District Court

Harris County, Texas

Trial Court Cause No. 05-76601

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is
an appeal from a judgment signed December 1, 2005.&nbsp; On January 9, 2007, 

appellant filed an
unopposed motion to dismiss the appeal.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly,
the appeal is ordered dismissed.

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed January
18, 2007.

Panel consists of Justices Anderson, Hudson, and Guzman.





